                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804



                                 (SEE ATTACHED SCHEDULE)



                       CONDITIONAL TRANSFER ORDER (CTO í23)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See _F.Supp.3d_ (J.P.M.L. 2017). Since that time, 503 additional action(s) have been
transferred to the Northern District of Ohio. With the consent of that court, all such actions have
been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7íday period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:


               Apr 19, 2018
                                                      Jeffery N. Lüthi
                                                      Clerk of the Panel
IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                           MDL No. 2804



                 SCHEDULE CTOí23 í TAGíALONG ACTIONS



 DIST     DIV.     C.A.NO.    CASE CAPTION


ALABAMA NORTHERN

                              City of Hamilton, Alabama v. Amerisourcebergen Drug
  ALN      6       18í00532   Corporation et al

FLORIDA NORTHERN

                              BIG BEND COMMUNITY BASED CARE INC et al v.
  FLN      4       18í00183   PURDUE PHARMA LP et al

GEORGIA MIDDLE

                              CLINCH COUNTY HOSPITAL AUTHORITY v.
 GAM       7       18í00051   AMERISOURCEBERGEN DRUG CORPORATION et
                              al
                              THE CITY OF TIFTON GEORGIA v.
 GAM       7       18í00052   AMERISOURCEBERGEN DRUG CORPORATION et
                              al

GEORGIA NORTHERN

                              Habersham County, Georgia v. AmerisourceBergen
 GAN       2       18í00041   Drug Corporation et al

MASSACHUSETTS

                              City of Everett v. Amerisourcebergen Drug Corporation
  MA       1       18í10660   et al
                              Town of Brewster v. Amerisourcebergen Drug
  MA       1       18í10666   Corporation et al
                              Town of Billerica v. Amerisourcebergen Drug
  MA       1       18í10667   Corporation et al

PENNSYLVANIA MIDDLE

                              Wyoming County, Pennsylvania v. Purdue Pharma L.P.
 PAM       3       18í00755   et al
